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            8                             UNITED STATES DISTRICT COURT
            9                          NORTHERN DISTRICT OF CALIFORNIA
           10                                   OAKLAND DIVISION
           11    ROBERT ROSS,                              CASE NO. 4:19-CV-06669 (JST)
           12                    Plaintiff,                JOINT CASE MANAGEMENT
                                                           STATEMENT & [PROPOSED] ORDER
           13         v.
                                                           Hearing:
           14    AT&T MOBILITY, LLC,                       Date: March 24, 2020
                                                           Time: 2:00 PM
           15                    Defendant.                Place: 1301 Clay Street, 2nd Floor
                                                                  Courtroom 6
           16                                                     Oakland, CA 94612
                                                           Judge: Judge Jon S. Tigar
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            1           Pursuant to Civil Local Rule 16-9, Rule 26(f) of the Federal Rules of Civil Procedure, and the
            2    Standing Order for All Judges of the Northern District of California, Plaintiff Robert Ross (“Mr. Ross”)
            3    and Defendant AT&T Mobility LLC (“AT&T”) hereby submit this Joint Case Management Statement,
            4    Rule 26(f) Report, and Proposed Order. Where the parties have disagreements in their respective
            5    submissions below, the fact that any assertion in either submission is not addressed or refuted by the
            6    opposing party does not reflect that party’s agreement to the assertion at issue.
            7                                      I. JURISDICTION & SERVICE
            8    A.     Plaintiff’s Statement
            9           This Court has jurisdiction over this matter under 28 U.S.C. § 1331 because this case arises
           10    under federal question jurisdiction under the Federal Communications Act (“FCA”). Pursuant to 28
           11    U.S.C. § 1367, the Court has supplemental jurisdiction over the state law claims because the claims are
           12    derived from a common nucleus of operative facts. The Court also has jurisdiction over this action
           13    pursuant to 28 U.S.C. § 1332 because Mr. Ross is a citizen of a different state than AT&T. This Court
           14    has personal jurisdiction over AT&T because AT&T purposefully directs its conduct at California,
           15    transacts substantial business in California (including in this District), has substantial aggregate
           16    contacts with California (including in this District), engaged and is engaging in conduct that has and
           17    had a direct, substantial, reasonably foreseeable, and intended effect of causing injury to persons in
           18    California (including in this District), and purposely avails itself of the laws of California. AT&T had
           19    more than 33,000 employees in California as of 2017, and 1,470 retail locations in the state. Mr. Ross
           20    purchased his AT&T mobile plan in California, visited AT&T retail locations in California, and was
           21    injured in California by the acts and omissions alleged herein.
           22           Plaintiff properly served AT&T on October 25, 2019. AT&T has accepted service, without
           23    waiving other jurisdictional defenses, and there are no outstanding claims disputing adequacy of
           24    service.
           25    B.     Defendant’s Statement
           26           Although AT&T does not agree with the recitations in Plaintiff’s Jurisdictional Statement,
           27    AT&T is not contesting that this Court has personal jurisdiction over AT&T in this case. AT&T also
           28    does not dispute subject matter jurisdiction.          Mr. Ross asserts a claim under the Federal

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            1    Communications Act (FCA), which creates federal question jurisdiction. His remaining claims fall
            2    under the Court’s supplemental jurisdiction, because they appear to arise from the same nucleus of
            3    operative facts. Dkt. 1, Compl. ¶ 13. Based on the allegations in the Complaint, Mr. Ross and AT&T
            4    are also citizens of different states and the amount in controversy exceeds $75,000, giving the Court
            5    diversity jurisdiction. Compl. ¶ 13. All parties have been served and venue is proper before this Court.
            6    See Dkt. 1.
            7                                                 II. FACTS
            8    A.     Plaintiff’s Statement
            9           AT&T failed to protect the sensitive and confidential account data of Robert Ross, one of its
           10    mobile service subscribers, which resulted in massive violations of Mr. Ross’s privacy, the compromise
           11    of his highly sensitive personal and financial information, and the theft of more than $1 million.
           12           In an egregious violation of the law and its own promises, and despite advertising itself as a
           13    leader in technological development and as a cyber security-savvy company, AT&T breached its duty
           14    and promise to Mr. Ross to protect his account and the sensitive data it contained. AT&T failed to
           15    implement sufficient data security systems and procedures, instead allowing third parties to gain
           16    unauthorized access to Mr. Ross’s AT&T account in order to steal from him via a SIM swap.
           17           On October 26, 2018 at approximately 6:00 PM PT, Mr. Ross began receiving notifications that
           18    someone was attempting to withdraw currency from his account at Gemini, a provider of financial
           19    services. This caused Mr. Ross significant distress because, at the time, Mr. Ross had $500,000 in
           20    USD in his Gemini account.
           21           At approximately the same time, Mr. Ross noticed that his AT&T mobile phone had lost service
           22    and displayed “No Service”, and he also noticed that he was automatically logged out of his Gmail
           23    account.
           24           Mr. Ross immediately suspected that a hacker attack was underway and took his mobile phone
           25    to an Apple store for assistance. Apple representatives assisted Mr. Ross in contacting AT&T Customer
           26    Support. At that time, an AT&T employee informed the Apple representatives that Mr. Ross’s SIM
           27    card had been changed. AT&T employees advised the Apple representatives to provide Mr. Ross with
           28    a new SIM card, and then Apple employees replaced the SIM card in Mr. Ross’s phone. AT&T then

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            1    activated the new SIM card, restoring Mr. Ross’s access to his AT&T mobile number and account
            2    services.
            3           When Mr. Ross returned home that evening, he called AT&T’s customer service to discuss the
            4    unauthorized access to his account by AT&T employees and the unauthorized SIM swap. An AT&T
            5    representative named Ryan S. informed Mr. Ross that an unauthorized SIM swap had occurred on his
            6    service at approximately 5:47 PM PT by another AT&T representative. Ryan S. also informed Mr.
            7    Ross that this unauthorized SIM swap request was made using customer owned and maintained
            8    equipment (“COAM”), and explained that COAM is a mobile phone that is not provided by AT&T and
            9    would generally be of unknown origin to AT&T (for example, a hacker might purchase a used mobile
           10    phone on the internet). Furthermore, Ryan S. expressed surprise that this SIM swap was executed as
           11    he said it was against AT&T internal policies for an AT&T representative to execute a COAM-
           12    originated SIM swap request from anyone calling in to an AT&T call center. Ryan S further represented
           13    that he made a specific note of this violation of AT&T’s own policy in Mr. Ross’s account, reading the
           14    note verbally to Mr. Ross “I have informed customer that a SIM card and IMEI change occurred on
           15    10/26/18 at 5:47pm. This change was approved by agent which is a direct violation of the ATT
           16    activation policy.”
           17           Within minutes of AT&T giving control over Mr. Ross’s AT&T mobile number to the hackers
           18    during the 5:47 COAM SIM swap, they used that control to access and take over Mr. Ross’s accounts
           19    at his financial services providers, including but not limited to, Coinbase, Gemini, and Binance.
           20    Coinbase and Gemini allow their users to store US dollars that can be used to buy and sell
           21    cryptocurrencies (such as bitcoin) within the user’s account, in a similar way to how users can store
           22    US dollars used to buy and sell stocks at financial services providers such as Fidelity, Schwab, and
           23    E*Trade.
           24           At the time of the SIM swap attack, Mr. Ross had approximately $500,000 in US dollars in his
           25    Gemini account and approximately $500,000 in US dollars in his Coinbase account. By utilizing their
           26    control over Mr. Ross’s mobile phone number, which AT&T gave them, third-party hackers were able
           27    to access and take control of these accounts of Mr. Ross and control the entire USD amounts he held
           28    in both accounts. The hackers used Mr. Ross’s $1,000,000 in US dollars to purchase bitcoin—a type

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            1    of cryptocurrency that can be difficult to trace—and then the hackers transferred that bitcoin into
            2    accounts they controlled at a different financial services provider. This made the cryptocurrency
            3    exceedingly difficult to trace, let alone recover.
            4           The hackers also transferred cryptocurrency worth approximately $3,000 from Mr. Ross’s
            5    Binance account into accounts they controlled, thereby stealing those funds from him as well.
            6           The hackers also used their control over Mr. Ross’s AT&T mobile phone number to access,
            7    change the passwords, and take control of several of Mr. Ross’s most sensitive online accounts,
            8    including, but not limited to, his Authy, Google, Yahoo!, and DropBox accounts. In taking over his
            9    Google account, the hackers also changed his passwords and the phone number linked to Mr. Ross’s
           10    two-factor authentication for these accounts, which made it impossible for Mr. Ross to regain
           11    immediate access to, let alone control of, these accounts (because any requests to remind him of or
           12    reset the password no longer were sent to Mr. Ross’s mobile phone, but rather to the hacker’s phone).
           13    It took Mr. Ross approximately 7-10 days to regain access to and restore control over his email, even
           14    longer for his other online personal accounts, and several weeks to regain access to the accounts taken
           15    over at his other financial services providers. In addition, the hackers deleted several weeks’ worth of
           16    emails and substantial data from Mr. Ross’s Google account. Mr. Ross has not been able to recover
           17    any of this data.
           18           AT&T’s actions and conduct were a substantial factor in causing significant financial and
           19    emotional harm to Mr. Ross and his family. But for AT&T employees’ unauthorized access to Mr.
           20    Ross’s account, and AT&T’s failure to protect Mr. Ross through adequate security and oversight
           21    systems and procedures, Mr. Ross would not have had his privacy repeatedly violated and would not
           22    have been a victim of SIM swap theft.
           23    B.     Defendant’s Statement
           24           AT&T’s investigation into the facts underlying Mr. Ross’s complaint is continuing. In his
           25    Complaint, Mr. Ross claims that criminal hackers swapped his SIM card into a phone controlled by the
           26    hackers, and then used his SIM card to steal cryptocurrency. Even assuming this theft occurred—
           27    which, at this point, AT&T lacks information sufficient to determine—multiple steps had to be taken
           28    by multiple parties, including Mr. Ross, to permit a SIM swap to result in a theft of funds held by Mr.

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            1    Ross. Moreover, AT&T does not control the acts of criminal hackers and has acted reasonably at all
            2    times. Accordingly, any alleged loss is due to factors other than AT&T and outside of AT&T’s control,
            3    including the negligence or intentional misconduct of other actors or Mr. Ross’s own negligence.
            4           Criminal hackers would not have known to target Mr. Ross for a SIM swap, known where to
            5    locate his funds, or been able to access those funds without first acquiring a wealth of information about
            6    Mr. Ross. Mr. Ross has not pled any facts relating to these issues. If any portion of his Complaint
            7    survives AT&T’s motion to dismiss, AT&T anticipates exploring in discovery what information
            8    criminal hackers had, and required, to conduct the SIM swap and the alleged theft. In addition, Mr.
            9    Ross’s alleged loss depended heavily on his own security practices, as well as the security practices of
           10    other companies. AT&T had no control over these security practices and, therefore, cannot be held
           11    responsible for any alleged loss. AT&T anticipates exploring in discovery Mr. Ross’s own security
           12    practices and any other security protecting his allegedly stolen currency.
           13           Mr. Ross’s claim for liability also relies on equating AT&T with Cristelo V., an individual who
           14    allegedly performed the unauthorized SIM swap. But Cristelo V. was associated with an AT&T
           15    contractor; he was not an AT&T employee. Accordingly, his actions, even if wrongful, are not
           16    attributable to AT&T. AT&T is not responsible for wrongful acts by an employee or contractor of
           17    another company who acted outside the scope of his employment and against AT&T policy.
           18           Finally, it is impossible for AT&T to have released any private information through a simple
           19    SIM swap. A SIM swap does not transfer any information—it merely transfers incoming messages
           20    and phone calls to a different phone. It does not give access to any passwords, usernames, email
           21    addresses, account information, social security numbers, or any other information that is required to
           22    access an online account. Accordingly, Mr. Ross’s allegation that multiple of his accounts were
           23    accessed as a result of the alleged SIM swap is implausible. As to each account that Mr. Ross claims
           24    was hacked, AT&T anticipates exploring in discovery how the information needed to access that
           25    account was obtained by hackers.
           26           These shortcomings defeat all of Mr. Ross’s claims. The connection between AT&T’s security
           27    practices and Mr. Ross’s alleged loss is too tenuous to hold AT&T responsible for the acts of third-
           28    party criminals. Moreover, Mr. Ross’s theories of liability hinge on blaming AT&T for conduct that

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            1    was undertaken by an individual who was not employed by AT&T. Accordingly, all of his claims must
            2    fail.
            3            Beyond these factual shortcomings, which apply to all of Mr. Ross’s claims, claim-specific
            4    flaws doom several of his claims. Many of these failures are highlighted in AT&T’s currently pending
            5    motion to dismiss Mr. Ross’s Complaint. To the extent that any of these claims survive the motion to
            6    dismiss, Mr. Ross’s deficient allegations likely foreshadow an inability to meet his standard of proof
            7    at the stage of summary judgment or trial.
            8            First, as to Mr. Ross’s claim that AT&T violated his right of privacy under the California
            9    Constitution, Mr. Ross must prove that AT&T committed an egregious breach of social norms. Mr.
           10    Ross does not meet the standard of alleging an egregious breach of social norms, and certainly cannot
           11    prove it. Indeed, he only alleges mere negligence, and even when his allegations are taken as true, they
           12    do not rise close to the level that courts have found actionable under the California Constitution. AT&T
           13    has acted reasonably in providing security to its customers, including Mr. Ross. AT&T anticipates
           14    exploring in discovery what, if any, “private” information Mr. Ross claims was disclosed. No such
           15    information is specifically alleged to have been disclosed in the Complaint.
           16            Second, as to Mr. Ross’s negligence claims, Mr. Ross cannot show that AT&T acted with
           17    anything less than due care. Even if a SIM swap occurred, that does not show that AT&T acted
           18    unreasonably. To the contrary, criminal hackers have shown an ability to circumvent even the most
           19    advanced security, and AT&T’s Privacy Policy warned customers of that fact. The mere assertion that
           20    Mr. Ross suffered a theft—if true—does not put the blame on AT&T for that act of third parties.
           21    Moreover, as set forth in AT&T’s motion to dismiss, Mr. Ross’s negligence claims fail as a matter of
           22    law because they run afoul of the economic loss rule.
           23            Third, as to Mr. Ross’s Consumer Legal Remedies Act claim, Mr. Ross has not pled, and
           24    certainly cannot prove, that he relied on any statement by AT&T to conclude that he was shielded from
           25    any risk of criminal conduct by third parties. To the contrary, AT&T’s Privacy Policy specifically
           26    discloses that risk. And while Mr. Ross claims that the Privacy Policy inadequately disclosed the limits
           27    of security that are available, he does not allege, and therefore cannot prove, that he ever read that
           28    Privacy Policy in connection with his phone service.

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            1            Fourth, as to Mr. Ross’s Computer Fraud and Abuse Act claim, Mr. Ross is attempting to stretch
            2    a statute far beyond its intended scope. The CFAA narrowly targets funds spent to investigate or repair
            3    a damaged computer, or costs incurred for interim service while a computer is inoperable. Mr. Ross
            4    cannot show that he spent over $5,000 investigating who allegedly stole his funds. Moreover, his
            5    primary claimed damages—the allegedly stolen funds—are not the type of damages recoverable on a
            6    CFAA claim. In addition, Mr. Ross be unable to prove that there was an unauthorized access of his
            7    AT&T account—a requirement for a CFAA violation.
            8            Fourth, Mr. Ross’s claim under the California Unfair Competition Law (UCL) fails because it
            9    requires a predicate violation. To prove a violation of the UCL, Mr. Ross must prove a violation of
           10    another law. The UCL does not proscribe any particular acts; instead, it borrows violations of other
           11    laws and treats them as independently actionable unlawful practices. Without the ability to sustain his
           12    other claims, Mr. Ross will be unable to maintain his UCL claim.
           13            Finally, AT&T lacks any information regarding Mr. Ross’s claim for compensatory damages,
           14    which may be shown to be speculative or otherwise not recoverable. Mr. Ross’s request for punitive
           15    damages is fatally flawed for the reasons set forth in AT&T’s motion to dismiss. No officer, director,
           16    or managing agent of AT&T had advance knowledge of the SIM swap, and no employee of AT&T—
           17    much less any officer, director, or managing agent—acted with the required mental state of fraud,
           18    malice, or oppression.
           19                                             III. LEGAL ISSUES
           20    A.      Plaintiff’s Position
           21            The legal issues presented in this case include, but are not limited to:
           22         1. Whether AT&T allowed unauthorized access to Mr. Ross’s AT&T account;
           23         2. Whether AT&T’s failure to protect Mr. Ross’s account from unauthorized access, and the
           24            confidential information contained therein, violates the Federal Communications Act, 47
           25            U.S.C. § 201 et seq;
           26         3. Whether AT&T was negligent in failing to secure Mr. Ross’s account—and protect the
           27            confidential and sensitive data contained therein—and to properly hire, train, and supervise its
           28            employees;

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            1         4. Whether AT&T is liable for the acts of its employees;
            2         5. Whether AT&T made material misrepresentations and omissions concerning its safeguarding
            3            of Mr. Ross’s Customer Proprietary Network Information (CPNI) in violation of California’s
            4            Unfair Competition Law, (UCL), Cal. Bus. & Prof. Code § 17200 et seq.;
            5         6. Whether AT&T’s actions constitute a violation of Mr. Ross’s right to privacy under the
            6            California Constitution;
            7         7. Whether AT&T’s material misrepresentations and omissions concerning the safeguarding of
            8            Mr. Ross’s CPNI and confidential information constitute a violation of the California Legal
            9            Remedies Act (CLRA), Cal. Civ. Code § 1750 et seq.;
           10         8. Whether AT&T’s failure to protect Mr. Ross’s account from unauthorized access, and the
           11            confidential information contained therein, violates the Computer Fraud and Abuse Act
           12            (CFAA), 18 U.S.C. § 1030; and
           13         9. Whether AT&T is liable to Mr. Ross for punitive damages.
           14    B.      Defendant’s Position
           15            The legal issues in this case include, but are not limited to:
           16         1. Whether Mr. Ross has adequately pleaded, and can prove by a preponderance of the evidence,
           17            that AT&T proximately caused the alleged theft of Mr. Ross’s cryptocurrency;
           18         2. Whether Mr. Ross can prove by a preponderance of the evidence his claim under the Federal
           19            Communications Act, 47 U.S.C. § 201 et seq.;
           20         3. Whether Mr. Ross can prove by a preponderance of the evidence his claim under California’s
           21            Unfair Competition Law (UCL), Cal. Bus. & Prof. Code § 17200 et seq.;
           22         4. Whether Mr. Ross adequately pleaded, and can prove by a preponderance of the evidence, any
           23            violation of his right to privacy under the California Constitution;
           24         5. Whether Mr. Ross adequately pleaded, and can prove by a preponderance of the evidence, that
           25            AT&T engaged in the torts of negligence and negligent supervision and entrustment;
           26         6. Whether Mr. Ross’s negligence-based claims are barred, or his recovery reduced, by his own
           27            contributory negligence or the negligence of third parties;
           28         7. Whether the economic loss doctrine bars Mr. Ross’s negligence-based claims;

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            1         8. Whether Mr. Ross has adequately pleaded, and can prove by a preponderance of the evidence,
            2            that he relied on any representations by AT&T, as required for his claim under the California
            3            Legal Remedies Act (CLRA), Cal. Civ. Code § 1750 et seq.;
            4         9. Whether Mr. Ross adequately pleaded, and can prove by a preponderance of the evidence, a
            5            claim under the Computer Fraud and Abuse Act (CFAA), 18 U.S.C. § 1030;
            6         10. Whether Mr. Ross adequately pleaded, and can prove by a preponderance of the evidence, any
            7            recoverable and non-speculative compensatory damages; and
            8         11. Whether Mr. Ross has adequately pleaded, and can prove by clear and convincing evidence,
            9            that he is entitled to punitive damages.
           10                                                 IV. MOTIONS
           11    A.      Pending Motions
           12            Defendant filed a motion to dismiss on December 6, 2019, which has been fully briefed and is
           13    pending now before this Court. See ECF Nos. 16, 21, 22.
           14    B.      Defendant’s Position
           15            To the extent any portion of the currently operative Complaint survives AT&T’s motion to
           16    dismiss, AT&T anticipates that it may be required to file an additional motion to dismiss if Mr. Ross
           17    files an amended complaint that does not remedy the problems AT&T has identified in the existing
           18    complaint. AT&T also anticipates filing a motion for summary judgment at an appropriate time.
           19                                    V. AMENDMENT OF PLEADINGS
           20    A.      Plaintiff’s Position
           21            Plaintiff reserves the right to amend the Complaint at a later point in the litigation. Plaintiff may
           22    move to amend if the court finds there are curable deficiencies in his complaint after the motion to
           23    dismiss has been decided. Plaintiff requests leave to amend 30 days after the decision on the motion to
           24    dismiss is provided.
           25    B.      Defendant’s Position
           26            AT&T reserves the right to amend any pleadings when allowed as of right by the Federal Rules
           27    or supported by good cause.
           28

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            1                                      VI. EVIDENCE PRESERVATION
            2           The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored
            3    Information and have complied with their evidence preservation obligations.
            4                                           VII. DISCLOSURES
            5           The initial Rule 26(a)(1) disclosures shall be deferred pending resolution of the motion to
            6    dismiss.   The parties’ respective initial disclosures will include the names of individuals with
            7    discoverable information and a description of documents in each party’s possession, custody or control
            8    that each party may use to support its claims and defenses.
            9                                            VIII. DISCOVERY
           10    A.     Joint Position
           11           A. No discovery has been taken to date.
           12           B. The parties have considered entering into a stipulated e-discovery order.
           13           C. The parties have agreed to the following discovery limitations:
           14                  The parties presumptively shall serve no more than 35 interrogatories, but each party
           15                   shall have the ability to use a supplemental declaration to justify an increased number
           16                   of interrogatories. Each party also preserves the ability to seek leave for additional
           17                   interrogatories.
           18                  The parties shall be limited to 25 total requests for admission, unless the parties later
           19                   agree to increase this number. Each party also preserves the ability to seek leave for
           20                   additional requests for admission and to confer regarding the treatment of requests for
           21                   admission regarding the authentication of documents.
           22                  The parties agree, in accordance with Federal Rule of Civil Procedure 34, that there will
           23                   be no numerical limit on the number of requests for production.
           24                  The parties agree that they will discuss an appropriate timetable for document
           25                   production in meet-and-confer discussions after document requests are served.
           26                  The parties agree that each party will be entitled to take 10 factual depositions of the
           27                   opposing party, with the ability to seek leave for additional depositions. The time shall
           28                   be actual record time, limited to a maximum of seven (7) hours per deposition.

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            1                    The parties anticipate that they will require expert witnesses at the time of trial.
            2                     o The plaintiff anticipates calling experts in the fields of cryptocurrency,
            3                         cybersecurity, SIM card and data security, and damages.
            4                     o AT&T is still investigating and evaluating its defenses, but anticipates it may call
            5                         expert witnesses in the fields of cryptocurrency, cybersecurity, SIM card and data
            6                         security, and damages. The parties reserve the right to disclose additional witnesses
            7                         beyond those anticipated at this point.
            8              D. The parties anticipate seeking depositions of third-party witnesses.
            9              E. The parties have discussed the taking of depositions pursuant to Rule 30(b)(6) and agree
           10                 that each Rule 30(b)(6) deposition shall count as a fact deposition and must be scheduled
           11                 within the time for fact discovery.
           12              F. With respect to non-party written discovery, if the non-party does not produce copies to
           13                 both sides, the issuing party will provide a copy of all materials produced to the other side
           14                 within seven (7) calendar days after receipt of the materials from the non-party unless the
           15                 issuing party seeks relief from the Court from doing so within that seven (7) calendar day
           16                 period. Any party that does not have access to materials provided by a non-party in response
           17                 to a subpoena issued pursuant to Fed. R. Civ. P. 45 for at least two (2) business days before
           18                 any deposition in which the materials will be used as exhibits may elect to have the
           19                 deposition postponed until the party has had access to the materials for at least two (2)
           20                 business days.
           21                                              IX. CLASS ACTIONS
           22              Mr. Ross did not file this case as a class action.
           23                                              X. RELATED CASES
           24    A.        Plaintiff’s Position
           25              Mr. Ross believes that the following cases are related:
           26             Shapiro v. AT&T, Case No. 19-CV-08972, pending in the Central District of California;
           27             Williams v. AT&T, Case No. 19-CV-00475, pending in the Eastern District of North Carolina;
           28             Terpin v. AT&T, No. 18-CV-06975, pending in the Central District of California.

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            1            Each case involves a legal determination of whether AT&T’s is liable for maintaining
            2    inadequate data protection policies and procedures, which directly resulted in SIM swaps and loss to
            3    plaintiffs.
            4    B.      Defendant’s Position
            5            Each of the cases mentioned by Mr. Ross involves allegations of a SIM swap and AT&T
            6    Mobility LLC, but AT&T does not believe they are “related” to this case in a legal sense.
            7                                                 XI. RELIEF
            8    A.      Plaintiff’s Position
            9            Mr. Ross states that, at this stage of the litigation, the precise amount of damages is not known.
           10    However, through the course of litigation, Mr. Ross intends to determine the precise amount of
           11    damages with the aid of expert testimony and discovery.
           12            Mr. Ross seeks judgment against AT&T for his asserted causes of action, public injunctive
           13    relief requiring cessation of AT&T’s acts and practices complained of herein pursuant to, inter alia,
           14    Cal. Bus. & Prof. Code § 17200, 47 U.S.C. § 401(b), and Cal. Civ Code § 1780, pre- and post-judgment
           15    interest, as allowed by law; an award of monetary damages, including punitive damages, as allowed by
           16    law, reasonable attorneys’ fees and costs reasonably incurred, including but not limited to attorneys’
           17    fees and costs pursuant to 47 U.S.C. § 206; and any and all other and further relief to which Mr. Ross
           18    may be entitled
           19    B.      Defendant’s Position
           20            AT&T denies all liability and denies that Mr. Ross is entitled to any damages, injunctive relief,
           21    or any other relief whatsoever.
           22                                      XII. SETTLEMENT AND ADR
           23            AT&T filed its ADR Certification on March 3, 2020. Dkt. 25. Mr. Ross filed his ADR
           24    Certification on March 5, 2020. Dkt. 26. Both parties would like to revisit ADR at the initial case
           25    management conference.
           26                                   XIII. CONSENT TO MAGISTRATE
           27            Mr. Ross declined Magistrate Judge jurisdiction on November 1, 2019. Dkt. 10.
           28

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            1                                        XIV. OTHER REFERENCES
            2             The parties do not believe this case is suitable for reference to binding arbitration, a special
            3    master, or the Judicial Panel on Multidistrict Litigation.
            4                                       XV. NARROWING OF ISSUES
            5             The parties are not presently in a position to address whether it is feasible or desirable to: (a)
            6    narrow the issues in the case by agreement or motion, (b) bifurcate the issues, claims or defenses at
            7    trial, or (c) reduce the length of trial by stipulation, use of summaries, or other expedited means of
            8    presenting issues. AT&T believes that its Motion to Dismiss will narrow the issues or dispose of the
            9    case.
           10                                   XVI. EXPEDITED TRIAL PROCEDURE
           11             The parties agree that this case is not appropriate for the expedited trial procedure.
           12                                             XVII. SCHEDULING
           13             The parties propose the following schedule:
           14

           15                           Event                                              Date
           16     Initial ADR Session                                 May 29, 2020
           17     Discovery Cut-Off                                   January 15, 2021
           18     Expert Disclosures                                  January 29, 2021
           19     Rebuttal Disclosures                                February 26, 2021
           20     Expert Discovery Cut-Off                            March 24, 2021
           21     Dispositive Motions Filing                          April 16, 2021
           22     Proposed Pretrial Final Order                       June 18, 2021
           23     Pretrial Conference                                 July 2, 2021
           24     Trial                                               July 19, 2021
           25                                                 XVIII. TRIAL
           26             Mr. Ross requested a jury trial. See Dkt. 1. Mr. Ross estimates that three weeks are needed for
           27    a jury trial. AT&T estimates that ten days are needed for a jury trial, subject to revision upon further
           28    development of the case through discovery and/or decisions of this Court.

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            1           XIX. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
            2    A.      Plaintiff’s Position
            3            Mr. Ross has not filed any “Certification of Interested Entities or Persons.” Mr. Ross restates
            4    that, other than the named parties, there is no interest to report.
            5    B.      Defendant’s Position
            6            Pursuant to Federal Rule of Civil Procedure 7.1 and Civil Local Rule 3-15, AT&T filed a
            7    Corporate Disclosure Statement and a Certification of Interested Parties on December 6, 2019. See
            8    Dkt. 15.
            9            AT&T Mobility LLC is a direct or indirect wholly-owned subsidiary of AT&T Inc. No publicly
           10    held corporation owns 10% or more of AT&T Inc.’s stock. Pursuant to Civil L.R. 3-15, AT&T
           11    Mobility LLC again certifies that the following listed persons, associates of persons, firms,
           12    partnerships, corporations (including parent corporations) or other entities (i) have a financial interest
           13    in the subject matter in controversy or in a party to the proceeding, or (ii) have a non-financial interest
           14    in that subject matter or in a party that could be substantially affected by the outcome of the proceeding:
           15    AT&T Inc.
           16                                     XX. PROFESSIONAL CONDUCT
           17            The parties submit that their attorneys of record have reviewed the Guidelines for Professional
           18    Conduct for the Northern District of California.
           19                                                 XXI. OTHER
           20            All matters pertinent to the fair and efficient management of this case have been covered in the
           21    foregoing sections of this statement.
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            1    Dated: March 17, 2020                  MARCELLUS MCRAE
                                                        ASHLEY E. JOHNSON
            2                                           GIBSON, DUNN & CRUTCHER LLP
            3
                                                        By: /s/ Marcellus McRae
            4                                           Marcellus McRae
                                                        Ashley E. Johnson
            5
                                                        MARCELLUS MCRAE, SBN 140308
            6                                             mmcrae@gibsondunn.com
                                                        GIBSON, DUNN & CRUTCHER LLP
            7                                           333 South Grand Avenue
                                                        Los Angeles, CA 90071-3197
            8                                           Telephone:    213.229.7000
                                                        Facsimile:    213.229.7520
            9
                                                        ASHLEY E. JOHNSON, admitted pro hac vice
           10                                            ajohnson@gibsondunn.com
                                                        GIBSON, DUNN & CRUTCHER LLP
           11                                           2001 Ross Avenue
                                                        Dallas, TX 75201
           12                                           Telephone: 214.698.3100
                                                        Facsimile: 214.571.2949
           13
                                                        Attorneys for Defendant AT&T MOBILITY, LLC
           14

           15
                 Dated: March 17, 2020                  DWAYNE SAM
           16                                           PIERCE, BAINBRIDGE, BECK, PRICE & HECHT
                                                        LLP
           17
                                                        By:    /s/ Dwayne Sam
           18                                                  Dwayne Sam
           19                                           THOMAS D. WARREN, SBN 160921
                                                          twarren@piercebainbridge.com
           20                                           ANDREW CALDERON, SBN 316673
                                                          acalderon@piercebainbridge.com
           21                                           PIERCE BAINBRIDGE BECK PRICE & HECHT LLP
                                                        355 South Grand Avenue, Fourty-Fourth Floor
           22                                           Los Angeles, CA 90071
                                                        Telephone:    (213) 262-9333
           23                                           Facsimile:    (213) 279-2008
           24                                           DWAYNE D. SAM (admitted pro hac vice)
                                                          dsam@piercebainbridge.com
           25                                           PIERCE BAINBRIDGE BECK PRICE & HECHT LLP
                                                        600 Pennsylvania Avenue NW
           26                                           Washington, DC 20004
                                                        Telephone:   (202) 843-8342
           27                                           Facsimile:    (646) 968-4125
           28                                           Attorney for Plaintiff ROBERT ROSS

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Crutcher LLP                                                  16
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            1                                         FILER’S ATTESTATION
            2           Pursuant to Civil Local Rule 5-1(i)(3), Marcellus A. McRae hereby attests that concurrence in
            3    the filing of this document has been obtained from all the signatories above.
            4

            5    Dated: March 17, 2020                        /s/ Marcellus McRae
                                                              Marcellus McRae
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            1                             [PROPOSED] CASE MANAGEMENT ORDER
            2           The above JOINT CASE MANAGEMENT STATEMENT is approved as the Case

            3    Management Order for this case and all parties shall comply with its provisions.

            4

            5    IT IS SO ORDERED.

            6
                  Dated: ________________, 2020
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                                                                             HON. JON S. TIGAR
           11                                                          UNITED STATES DISTRICT JUDGE
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